UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

MARTIN TANKLEFF,
Plaintiff,
SUFFOLK COUNTY
-against- DEFENDANTS?
STATEMENT
THE COUNTY OF SUFFOLK, K. JAMES PURSUANT TO LOCAL
MCCREADY, NORMAN REIN, CHARLES RULE 56.1
KOSCIUK, ROBERT DOYLE, JOHN
MCELHONE, JOHN DOE POLICE OFFICERS CV09-1207 (JS)AYS)

#1-10, RICHARD ROE, Suffolk County
Employees #1-10,

Defendants.

 

 

Defendants, County of Suffolk, K. James McCready, Norman Rein, Charles
Kosciuk, Robert Doyle and John McElhone, submit the following as and for its Statement
Pursuant to Local Rule 56.1.

1 Events at 33 Seaside Drive, Belle Terre, on September 7, 1988 Prior To
Plaintiff Going to Police Headquarters.

1. At 6:11 a.m. on September 7, 1988, plaintiff placed a 9-1-1 call reporting
that he found his father (hereinafter “Seymour”) with blood “gushing” from his neck.
The operator instructed plaintiff to get a clean towel and hold pressure on where the

blood was “gushing” from, (Exhibit Al and A2)*

 

' The defendants dispute some of the facts in this Rule 56 statement that are based upon the deposition and
trial testimony of the plaintiff Martin Tankleff. However, for the purposes of this motion only, we do not
dispute these facts, as the standard for summary judgment is to view the facts in a light most favorable to
the plaintiff. The defendants submit that even viewing the facts in a light most favorable to the plaintiff,
summary judgment is warranted.

? For continuity, exhibits supporting this statement pursuant to Local Rile 56.1 are identified by the
corresponding letters assigned to the exhibits supporting the defendants’ original motion pursuant to
F.R.C.P. 12(c). Newly identified exhibits begin with Exhibits XX.

 

 
2. Emergency Service Dispatcher Patricia Flanagan described plaintiff as
“excited” but not “upset”. (Exhibit B, TT? pp. 62-72, 83, 86-89)

3. On the day of the murders, plaintiff had a conversation at the scene with
Homicide Detectives Norman Rein and James McCready, where he stated to both
Detectives that upon observing Seymour in the office covered with blood and “gagging,”
he immediately called 9-1-1 from the phone in the office and that that was the only thing
he touched in that room. Detectives Rein and McCready also noted that the blood
spatter on the phone in the office had not been disturbed nor were there any apparent
blood prints. (Exhibit B, TT pp. 2836, 3441, 3445-3446) (Exhibit C - McCready
Supplemental Report, 9/14/88 p. 2-3) (Exhibit D - Oral Confession, p.3) (Exhibit R,
HH‘ pp. 5-8, 24-30) (Exhibit XX Deposition of Norman Rein p. 76, 77) (Exhibit YY
Deposition of Robert Doyle p. 119) (Exhibit ZZ Deposition of Martin Tankleff, October
1 and 2, 2012, p. 8).

4, On the day of the murders and before the confession part of plaintiff's oral
statements to Detectives Rein and McCready, plaintiff stated after observing Seymour
covered in blood he called 911 from the phone in the office where Seymour’s body was
located. (Exhibit B, TT pp. 3445-3446) (Exhibit D, Oral Confession, p.3) (Exhibit R, HH
pp.5-30) (Exhibit YY Deposition of Robert Doyle p. 119) (Exhibit ZZ Deposition of
Martin Tankleff p. 8).

5. Two photographs taken by crime scene investigators on the day of the
murders, of the phone in the office where Seymour was found showed that the blood
spatter on that phone receiver had not been disturbed and was intact. (Exhibit E, Trial

Exhibits 74-d, 75, photographs)

 

3 Trial Transcript hereinafter referred to as “TT”.
‘ Huntley Hearing Transcript, hereinafier referred to as “HH”,

 
6. On the day of the murders and before the confession part of plaintiffs oral
statements to Detectives Rein and McCready, plaintiff stated that he “put a pillow under
his father’s feet and a towel around his father’s throat ... He had blood on his hands from
his father.” (Exhibit B, TT pp. 2836, 3440-3441, 3445-3446) (Exhibit C —- McCready
Supplemental Report 9/14/88, pp. 3-4) (Exhibit D - Oral Confession p.3) (Exhibit R,
HH pp. 5-30)

7. A stand-up photograph of plaintiff was taken at police headquarters on
September 7, 1988. Plaintiffs sweatshirt, shorts and his extremities that are visible. No
blood staining, smearing or drops are visible in the photographs. (Exhibit F, Trial Exhibit
#11, photograph of plaintiff) (Exhibit ZZ Deposition of Martin Tankleff p, 33).

8. On the day of the murders and before the confession part of plaintiffs oral
statements to Detectives Rein and McCready, plaintiff stated that after he called 911 and
gave aid to Seymour he began to search for his mother and opened the door leading to the
garage to see if her car was there. (Exhibit B, TT pp. 2836-2837, 3442-3443, 4119)
(Exhibit C, McCready Supplemental Report, 9/14/88, p. 4) (Exhibit D, Oral Confession
p. 3) (Exhibit R, HH pp. 5-30)

9, On the day of the murders, Homicide Detective James McCready
responded to the home and surveyed the interior of the house which was now a crime
scene. Among his observations, Detective McCready noted that there was no blood on
the door handle to the garage and the dead bolt on the garage door was /ocked with the
key in it. (Exhibit B, TT pp. 3445-3448) (Exhibit C, McCready Supplemental Report,
9/14/88 p. 4) (Exhibit R, HH pp. 24-30)

10. A photograph, taken by crime scene investigators on the date of the

murders of the dead bolt lock and the handle on the door leading to the garage, shows that

 
there was no blood found on either the dead bolt lock or the handle. (Exhibit B, TT pp.
3445-3450, 4211-4213) (Exhibit G, Photograph)

11. On the day of the murders, Homicide Detective James McCready
observed that a light switch in piaintiff’s bedroom was in the “on” position and that there
was blood on the north wall at the light switch and on the sheetrock. (Exhibit B, TT pp.
3446-3451) (Exhibit C, McCready Supplemental Report, 9/14/88 p. 2) (Exhibit R, HH
pp. 5-30)

12. Photographs taken by crime scene investigators on the day of the murders,
of the light switch in plaintiff's bedroom, showed blood stains. (Exhibit H, Trial Exhibits
90 and 91, Photographs)

13. On the day of the murders and before the confession part of plaintiff's oral
statements to Detectives Rein and McCready, plaintiff stated he got dressed at 6:10 a.m.
and put on shorts and a sweatshirt. (Exhibit B, TT pp. 2616, 2835-2836, 3439) (Exhibit
C, McCready Supplemental Report, 9/14/88 p. 5) (Exhibit D, Confession p.10)

14. On the day of the murders and before the confession part of plaintiffs oral
statements to Detectives Rein and McCready, plaintiff stated he woke up at 5:35 a.m., got
out of bed at 6:10 a.m., and left his room at 6:16 a.m. (Exhibit B, TT pp. 2616, 2835-
2836, 3439) (Exhibit D Oral Confession, p.2) (Exhibit XX Deposition of Norman Rein
p. 74).

15. On the day of the murders and before the confession part of plaintiff's oral
statements to Detective Rein and Detective McCready, plaintiff stated that he never went
into his mother’s bedroom. He only went as far as the alarm wall. He only saw her from
the hallway entrance to the bedroom but he stated that he observed Arlene on the ground
with her throat cut and he could see she was dead. He also stated that he did not turn on

any lights in that bedroom. (Exhibit B, TT pp. 2818, 2836-2837, 3439-3440, 3442)

 
(Exhibit D, Oral Confession p. 3-4) (Exhibit R, HH pp. 8-30) (Exhibit XX Deposition of
Norman Rein p. 76, 77).

16. On the day of the murders, while at the scene plaintiff had conversations
with Detectives McCready and Rein, and with Detective Sergeant Doyle. (Exhibit ZZ
Deposition of Martin Tankleff p. 50)

17, Although plaintiff spoke to McCready, Rein and Doyle, he does not
remember all their questions. (Exhibit ZZ Deposition of Martin Tankleff p. 50)

18. Plaintiff does not recall recounting for the detectives the steps he took
when they asked him questions. (Exhibit 7Z Deposition of Martin Tankleff p. 51)

19. Plaintiff does not have a specific recollection of indicating to the detectives
that he only saw his mother from the hall way, that she was on the ground, that her throat
was cut and that he could see that she was dead. (Exhibit ZZ Deposition of Martin
Tankleff p. 51)

20. Plaintiff does recall answering questions from McCready, Rein and Doyle
while at the scene, (Exhibit ZZ Deposition of Martin Tankleff p. 51)

21, On the day of the murders, plaintiff told the detectives he woke up and
looked in his parents’ bedroom and didn’t see anybody in their bed because the room was
dark. (Exhibit ZZ Deposition of Martin Tankleff p. 138, 238)

22, Plaintiff voluntarily drew a diagram of his parents’ bedroom showing the
layout of the room, Arlene’s body as he observed it, and the entranceway which showed
the alarm wall. The alarm wall was an interior wall with the opposite side being the
hallway wall. (Exhibit I, sketch of Arlene’s room) (Exhibit ZZ Deposition of Martin
Tankleff p. 211-217)

23. Nobody threatened the plaintiff to make any drawings. (Exhibit ZZ

Deposition of Martin Tankleff p. 225-226)

 
24, Three photographs taken by crime scene investigators on the day of the
murders of the master bedroom from the entranceway to the room, with Arlene’s body
still in place, showed that the cut along her throat was not visible from where plaintiff
said he was standing when he concluded his mother was dead and that her throat was cut.
(Exhibit B, TT pp. 3483-3485) (Exhibit J, Trial Exhibits 7, 8, 9, 10, Photographs)

25. Plaintiff did not go into the room and render aid to his mother (Exhibit 7,7,
Deposition of Martin Tankleff p. 62)

26. On the day of the murders and before the confession part of plaintiff's oral
statements to Detectives Rein and McCready, plaintiff stated that after observing Arlene
in the master bedroom he did not call 911 again to report that discovery, but called his
sister from a phone in the kitchen and told her he believed “mom and dad have been
murdered.” He then checked on Seymour and then answered his sister’s call back in the
kitchen and yelled for his sister to “get over to the house.” (Exhibit B, TT pp. 2618-
2619, 2837, 3442-3443) (Exhibit C, McCready Supplemental Report, 9/14/88 p. 4)
(Exhibit D, Oral Confession p.4) (Exhibit R, HH pp. 21-22) (Exhibit ZZ Deposition of
Martin Tankleff p, 63)

27, On the day of the murders and before the confession part of plaintiff's Oral
Statements to Detectives Rein and McCready, plaintiff stated that he then remembered he
was supposed to pick up his friend Mark Perrone on the way to school. He called Mark’s
house from the same kitchen phone and spoke to Mark’s mother. His friend Mark called
plaintiff back after he spoke with Mark’s mother and he answered the phone in the |
kitchen - now touching that phone for a fourth time. (Exhibit B, TT pp. 2618-2619, 3442-

3444: Exhibit R, HH pp. 21-22) (Exhibit ZZ Deposition of Martin Tankleff p. 63)

 

 
28, A photograph, taken by crime scene investigators on the day of the
murders, of the phone in the kitchen showed that there was no blood on that phone.
(Exhibit K, Trial Evidence 78b, Photo)

29, On the day of the murders, and before the confession part of plaintiff's
oral statements to Detectives Rein and McCready, plaintiff stated that after his sister’s
call, the next thing he did was go to the house of his neighbor, Martin Hova (hereinafter
“Hova”), (Exhibit B, TT p. 2837) (Exhibit D, Oral Confession p. 4)

30. Hova stated that while in the bathroom of his house, which was next to the
Tankleff residence, he heard screaming and that when he went to the front door, he saw
plaintiff barefoot and clad in shorts and a zip-up sweatshirt. (Exhibit B, TT pp. 92-94,
100-104)

31. Hova, Police Officer James Crayne and Police Officer Daniel Gallagher
(uniform officers responding to the 911 call) stated that as they arrived at the scene, Hova
approached the scene with plaintiff and the plaintiff yelled “somebody murdered my
parents” as they all headed into the house. (Exhibit B, TT pp. 100-104, 248-256, 286-
289, 316-317, 324-331, 369-370)

32. Police Officers Crayne and Gallagher stated that plaintiff was upset or
“agitated.” They also stated that plaintiff had on shorts and a zip up sweatshirt, was
barefoot and had blood on his palms, the right side of his face, on his right calf and on his
right foot, (Exhibit B, TT pp. 104-106, 256-259, 318-319, 332-334, 351-359, 372)

33.  Hova also stated that once inside the house he went with Police Officer
Crayne and plaintiff into the office where his father was and plaintiff stated “Murder,
Murder” plaintiff further stated they “murdered my parents.” When asked by Hova “who
did it?”, plaintiff stated “my father’s business partner, Jerry.” (Exhibit B, TT pp. 104-

106, 256-259, 318-319, 332-334, 351-359, 372)

 
34. Police Officer Crayne stated that he observed a towel on Seymour’s neck.
He noted that the towel was not pressed into the neck wounds but was “draped over the
neck.” After making this observation, P.O, Crayne applied pressure to the wound in an
attempt to stop the bleeding. (Exhibit B, TT pp. 335, 343-344)

35. Police Officer Gallagher also stated that he went to the threshold of the
master bedroom. From the threshold he observed Arlene’s head on the floor “partially
sticking out from the end of the bed.” P.O. Gallagher then approached Arlene but it was
not until he stood directly over the body that he saw the extent of her injuries and
concluded she was dead. (Exhibit B, TT pp, 259-272, 293-300)

36. Police Officer Crayne stated that when he tried to rouse Seymour, he
asked Seymour who did this. Though Seymour said nothing, plaintiff stated “it was Jerry
Stenerman,” When Police Officer Gallagher entered the office, plaintiff again stated that
“the only person who had the motive to do this was Jerry Steuerman.” Plaintiffs
demeanor during this exchange was “composed.” (Exhibit B, TT pp. 271-277, 320-322,
344-345) |

37. Police Officer Edward Aki (a third uniformed officer responding to the
911 call) stated he arrived at the scene at 6:27 am. A few minutes later, Belle Terre
Chief Constable Donald Hines, a family friend and colleague of Seymour’s on the Belle
Terre Police Department, also arrived and both observed plaintiff's brother-in-law Ron
Rother arrive at the scene. Rother was observed as being “very upset” and he was crying,
“just visibly shaken.” (Exhibit B, TT pp. 83, 278-279, 315-316, 347, 375-376, 383-384,
403, 415, 422, 464-466 and 501-502)

38. Police Officer Aki advised plaintiff and Rother that the house was a crime
scene and that both of them, as witnesses, needed to be kept separate. While Police

Officer Aki was taking plaintiff to his car, plaintiff asked if he could wash his hands at a

 

 
 

spigot on the side of the house. Plaintiff was told it was inadvisable to go near the house.
As Police Officer Aki and plaintiff moved toward Police Officer Aki’s patrol car,
plaintiff stated “that a Jerry Steuerman had done this.” (Exhibit B, TT pp. 384-389, 392-
395, 403-406)

39, Police Officer Aki then stated that after plaintiff entered the back seat of
his patrol car, Police Officer Aki left the area and plaintiff “was free to move.” Soon
after plaintiff exited the car and bent down by a puddle and began washing his hands in
that puddle. This was observed by both Police Officer Aki and Chief Constable Hines,
(Exhibit B, TT pp. 387-389, 392-393, 403-410, 501-504)

40. Chief Constable Hines stated that after observing plaintiff washing his
hands, he and plaintiff made eye contact and they “immediately converged.” Hines then
asked plaintiff what happened and plaintiff answered “Jerry Steuerman murdered my
mother and my father.” Both then entered Hine’s car where in an excited manner, but not
crying, plaintiff continued to accuse Steuerman. Plaintiff stated that Arlene had predicted
that Steuerman was going to do something terrible, that Steuerman was the last person to
leave the card game, and that Steuerman “killed my mother and father.” Because neither
Arlene nor Seymour had ever expressed a fear of Steuerman to Hines, Hines stated “that
Seymour was still alive and that should he regain consciousness, the police would be able
to verify if Jerry was indeed the perpetrator.” (Exhibit B, TT pp, 410, 504-507, 523-528,
535)

41. Chief Constable Hines stated that after making the aforementioned
statement to plaintiff, plaintiff's demeanor changed. Hines stated

“Well up to that time Marty was looking .., at the ground, at his feet, at the hood

of the car, at something, other than me, He had his head down. When I made that

statement, he picked his head up and looked directly at me. His eyes widened, he

stopped talking and didn’t say a word.” Plaintiff then exited the car, (Exhibit B,
TT pp. 506-507, 526)

 
42. Plaintiff does not remember having a conversation with Constable Hines
regarding the statements in paragraph 39 above and cannot recall if he said the statements
or not. (Exhibit ZZ Deposition of Martin Tankleff p. 75) (Exhibit AAA Deposition
of Martin Tankleff, July 9, 2013, p.29-30)

43, Aneighbor and friend of Seymour’s, John McNamara (hereinafter
“McNamara”), stated that he was taking a morning walk in Belle Terre when he came in
contact with plaintiff. This was the first of three conversations he had with plaintiff.
Plaintiff stated to McNamara that his parents had been murdered, that Jerry Steuerman
committed the murders; that he discovered them after waking up; and repeated the order
of what he did similar to what he told McCready. (See § #41 and § #42 below) Plaintiff
went on to state that his father was bleeding very heavily and that he, plaintiff, had lifted
Seymour from the chair and placed him on the floor. McNamara then asked plaintiff why
he was not covered in blood. Plaintiff looked at McNamara and walked away without
responding. (Exhibit B, TT pp. 776-781, 789, 811-812) (Exhibit Y, McCready Supp.
Report 10/18/88)

44, | McNamara stated that in his second conversation with plaintiff he again
stated that Jerry Steuerman had murdered his parents, McNamara replied that it appeared
plaintiff's father was not dead, since the paramedics had placed him in an ambulance and
Jeft quickly with the lights on. Plaintiff then stated he had been sleeping in the nude and
that when he woke up he put on his shorts and sweatshirt and then repeated the scenario
of his actions as he had stated earlier, except he now stated that after checking for his
mother’s car in the garage, he went out of the house screaming that a murder had been
committed. (Exhibit B, TT pp. 782-783) (Exhibit Y, McCready Supp. Report 10/18/88)

45. | McNamara stated that plaintiff came back a third time and restated the

same scenario he had stated earlier with respect to his actions, but this time he stated that

 

 

 
after he checked the garage for his mother’s car, he went to his mother’s bedroom, stood
at the entrance and saw his mother and then realized she was dead and that he (plaintiff)
was too scared to go into the bedroom and he then ran out of the house screaming that a
murder had taken place. (Exhibit B, TT pp. 784-785, 797) (Exhibit Y, McCready Supp.
Report 10/18/88)

46. Plaintiff does not recall having any conversation with Mr. McNamara
outside his house on September 7, 1988. (Exhibit ZZ, Deposition of Martin Tankleff p.
85) (Exhibit AAA Deposition of Martin Tankleff, July 9, 2013, p.22, 24)

47,. The Belle Terre Mayor, Vincent Bove (hereinafter “Bove”’), a family
friend and an attendee at the card game that occurred hours prior to the murders, stated he
arrived at the scene around 7:00 a.m. and that plaintiff approached him and stated
“somebody murdered my mother and father” and that Jerry Steuerman did it. Bove
responded by asking plaintiff “What makes you say that? ... Nothing took place at the
card game. Did you see (Steuerman) do this?” Plaintiff responded, “No, | didn’t see
him, but they’ve been arguing.” (Exhibit B, TT pp. 741-742)

48. Plaintiff recalls having a conversation with Mr, Bove but does not
remember the specifics of that conversation. 43, (Exhibit ZZ Deposition of Martin
Tankleff p. 90)

49, — Around this time, while plaintiff was leaning on a police car, Dara
Schaeffer, a neighbor and high school student, pulled up to 33 Seaside Drive and asked
plaintiff “how’s it going?” Plaintiff replied “last night someone killed my mother and
tried to kill my father and molested me.” Dara noted plaintiff said this with no emotion

on his part. (Exhibit B, TT pp. 550-553) (Exhibit Z, 2 Rein Supp. Reports 2/14/90)

 
 

50. Plaintiff testified at his criminal trial that he told Ms. Schaeffer that “they
murder my mother, the murdered my father, and they must have missed me.” (Exhibit B,
TT pp 4131),

51. Detective Sergeant Robert Doyle of the Suffolk County Police
Department’s Homicide Bureau received notice of Arlene’s murder at approximately
7:05 a.m. on September 7, 1988. By 7:20 a.m. he had directed Homicide Detectives
Rebert Anderson, Anthony Lahgezza, Michael Carmody, John Pfalzgraf, K. James
McCready and Norman Rein to the scene. At the scene, Detectives Carmody and
Pfalzgraf were redirected to the hospital with Seymour, and Detectives Anderson and
Lahgezza were redirected to interview the card players. (Exhibit B, TT pp. 2602-2608,
2831, 3431) (Exhibit R, HH pp. 969-972)

52. Detective McCready arrived at the scene at 7:39 a.m. and spoke with
Officers Aki and Crayne. He then entered the house and examined the office and master
bedroom where Seymour and Arlene were respectively. After exiting the house at
approximately 7:50 a.m., he then introduced himself to plaintiff and asked what
happened. Chief Constable Hines interrupted them and McCready asked plaintiff to wait
in his car while he was briefed by Hines. McCready then got in his car at about 7:55 a.m.
where he observed that plaintiff appeared “excited” and stated “Jerry Steuerman” had
done this because he and Seymour had been fighting. (Exhibit B, TT pp. 3431-3437,
3447, 3519, 3551-3552, 3593, 3599)

53. While in the car, plaintiff told McCready that he awoke at 5:35 a.m.,
stayed in bed until about 6:10 a.m. and then “got dressed in a sweatshirt and shorts.”
Plaintiff then stated he looked into his mother’s bedroom which was dark because the
drapes were drawn, Not seeing anyone, he went to the office area where he saw his

father bleeding and gagging. Plaintiff then stated he immediately called 9-1-1 from the

 

 

 
phone on the desk in the office. He then stated he opened the garage door and saw his
mother’s car and then went back to his mother’s room. He saw his mother and then went
to the kitchen to call his sister Shari. (Exhibit B, TT pp. 3437-3439, 3439-3441, 3442-
3443) (Exhibit R, HH pp. 8-24)

54. At this time, McCready observed that the only blood plaintiff had on him
was a blood spot on his right ca!f and a blood spot on his right instep. McCready then
asked if plaintiff had blood on him from helping his father to which plaintiff stated “my
hands were covered with blood” and “I washed them in a puddle.” McCready then re-
entered the house and observed there were wnsmeared blood spatters on the office
telephone; o blood on the three telephones in or near the kitchen; and no blood on the
garage door or the dead bolt lock which was locked, McCready also observed that the
drapes in the master bedroom were open. (Exhibit B, TT pp. 3444-3451, 3560-3565)
(Exhibit R, HH pp. 24-30)

55, At approximately 8:00 a.m., Detective Sergeant Robert Doyle arrived at
the scene and spoke to the uniformed officers who had responded to the incident location
and received a rundown of “what they had.” Doyle then conducted a walkthrough of the
house, and noted that based on the position of Arlene’s body, it appeared that there was a
struggle. McCready introduced Doyle to plaintiff. Doyle noted upon exiting the house,
that plaintiff did not appear “upset” or “emotional.” (Exhibit B, TT pp. 2608-2613, 2638,
2652-2654, 2683-2684) (Exhibit YY Deposition of Robert Doyle p. 127)

56. Plaintiff then recounted, for Doyle, the steps he took when he left his
bedroom and repeated the scenario he had stated to McCready and McNamara, except he
did not mention he went to the garage while searching for his mother. He did state,
however, that he looked into the master bedroom from the Aa/fway and could see that

Arlene was dead because she was not moving and that her throat was cut. He also told

 
Doyle that Jerry Steuerman had done this and explained who Jerry Steuerman was.
(Exhibit B, TT pp. 2614-2620) (Exhibit R, HH pp. 973-990)

57. On the day of the murders plaintiff drew a diagram showing a rough
layout of the house where he showed that his (plaintiff's) bedroom door is almost directly
across from the master bedroom door. (Exhibit C, McCready Supplemental Report,
9/14/88) (Exhibit D, Oral Confession) (Exhibit L, Trial Exhibit #168)

58. Prior to waking on September 7, 1988 the plaintiff did not hear anything in
the house. He heard no cries for help or cries of pain or any cries of anguish. (Exhibit
ZZ Deposition of Martin Tankleff p. 288-289)

59. At 8:16 a.m., Detective Norman Rein arrived at the scene and approached
Doyle. McCready was at this time approaching Detective Charles Kosciuk, a detective
assigned to the crime laboratory. After Rein spoke to Doyle, Doyle asked the plaintiff to
tell Rein what he had told Doyle. (Exhibit B, TT pp. 2831-2833, 2957-2966) (Exhibit
XX Deposition of Norman Rein p, 72-74)

60. Rein then spoke with plaintiff who stated that after leaving his bedroom,
he went and looked in the master bedroom but did not see either of his parents because
the room was dark. Plaintiff then said he looked into the office and saw his father in a
chair by the desk. He described his father as bloody and “gagging” and that his father’s
throat was cut all around. Plaintiff next stated he dialed 9-1-1 from his father’s office
phone. (Exhibit B, TT pp. 2835-2836) (Exhibit R, HH pp. 1068-1127) (Exhibit XX
Deposition of Norman Rein p. 76, 77) |

61. Plaintiff next told Rein that he followed the operator’s instruction and then
went to look for his mother. Plaintiff went to the garage and after seeing his mother’s car
there, he went back to the master bedroom, looked in, saw his mother and then went into

the kitchen and phoned his sister Shari. Plaintiff next stated he went back to the office

 

 
and then back into the kitchen to answer the ringing phone which was his sister calling
back. Plaintiff did not mention he used the same phone in the kitchen on a third and
fourth occasion at this time. (Exhibit B, TT pp. 2836-2837) (Exhibit R, HH pp. 1068-
1127) (Exhibit XX Deposition of Norman Rein p. 76, 77)

II. From Potential Witness to Suspect to the Confession.

62. After the aforementioned conversation, Rein walked away from plaintiff
and spoke to McCready and Doyle, Based on the discrepancies in plaintiffs statements
to each of them, (no smear of blood splatter on office phone; #o blood on the door
handle and deadbolt to the garage, the latter of which was locked; xo blood on the
kitchen phone; blood on the light switch plate and wall in plaintiffs bedroom; xo
indication from plaintiff that he heard anything before waking up; that plaintiff was the
only surviving family member who was present; the claim plaintiff could see his mother’s
throat slashed from the bedroom door), and plaintiff's “lack of emotion” and “whole
demeanor,” Doyle directed McCready to ask plaintiff to accompany him and Rein to
Police Headquarters. (Exhibit B, TT pp. 2625-2627, 2889-2891, 2991-2994, 3456-3457,
3524-3525, 3612, 3627, 3786) (:xhibit R, HH pp. 991-993, 1077-1080) (Exhibit XX
Deposition of Norman Rein p. 74-80) (Exhibit YY Deposition of Robert Doyle p. 252-
255)

63. At about 8:40 a.m., McCready asked plaintiff to accompany him to Police
Headquarters to talk to him further about what he had been telling the detectives and
about Jerry Steuerman, Plaintiff responded “fine” and got into the right front passenger
seat unrestrained. The two then left the scene. (Exhibit B, TT pp. 3458, 3463, 3607-
3608, 4138, 4228) (Exhibit C, McCready Supplemental Report, 9/14/88, p. 6) (Exhibit R,

HH pp. 29-30)

 

 
64. Doyle then went into the bathroom near plaintiff's bedroom and observed
water droplets in the bathtub and a wet loofah sponge. (Exhibit B, TT pp. 2624, 2735)
(Exhibit YY Deposition of Robert Doyle p. 235-236, 375-376)

65. While in route to headquarters, McCready got a radio message to contact
Detective Pfalzgraf who was at Mather Hospital where Seymour had been taken. After
phoning Pfalzgraf, McCready learned that Seymour had suffered “extensive head
injuries” and was being transferred to Stony Brook Hospital. (Exhibit B, TT pp. 3463-
3465, 3609-3610) (Exhibit C, McCready Supplemental Report, 9/14/88, p. 6) (Exhibit D,
Oral Confession p. 4) (Exhibit R, HH pp. 41-43)

66. McCready and plaintiff then discussed Jerry Steuerman. McCready had
no idea who Steuerman was at this point in the investigation, but knew Doyle would
order another team of detectives to interview him. Doyle had, in fact, instructed
Homicide Detectives Robert Anderson and Anthony Laghezza to interview all the card
players who were present at a card game that concluded hours before the murders. Doyle
also instructed Anderson and Laghezza to interview Steuerman last. (Exhibit B, TT pp.
2754-2755, 3466, 3620-3634) (Exhibit C, McCready Supplemental Report, 9/14/88, p.
6) (Exhibit R, HH pp. 43-45) (Exhibit YY Deposition of Robert Doyle p. 111-115)

67. McCready arrived at police headquarters with plaintiff at approximately
9:20 a.m. . Both then proceed to McCready’s office when plaintiff was asked if he
wanted a cup of coffee. Plaintiff indicated he did and McCready gave plaintiff the
coffee, Plaintiff sat in the interview room as McCready waited for Rein to arrive at
headquarters. (Exhibit B, TT pp. 3357-3360, 3467-3468, 3573-3576, 3641-3642) (Exhibit
C, McCready Supplemental Report, 9/14/88, p. 6) (Exhibit R, HH pp. 45-47) (Exhibit ZZ

Deposition of Martin Tankleff p. 165)

 
68. At approximately 9:40 a.m., Rein and McCready entered the interview
room and made “small talk” with plaintiff. At approximately 9:45 a.m., plaintiff
removed three tissues from one of his pockets and placed them on a desk. (Exhibit B, TT
pp. 2841-2843, 3005-3006, 3036-3038, 3093, 3469-3470, 3512, 3520) (Exhibit D, Oral
Confession p. 1) (Exhibit R, HH pp. 47-50, 1081-1082)

69. Plaintiff told Rein and McCready about some of his father’s business
dealings, and that his father was a retired insurance broker and that his father had
numerous other business and investment interests and that his father was partners in a
business with Dan Hayes. (Exhibit ZZ Deposition of Martin Tankleff p. 200)

70. ‘Plaintiff told Rein and McCready that his father and Jerry Steuerman were
partners in horses and that his mother and father each had twenty percent and Jerry
Steuerman had 50 percent. (Exhibit ZZ Deposition of Martin Tankleff p, 205)

71. Plaintiff told Rein and McCready that his father and mother were partners
in the bagel store and that Jerry and his father were having an ongoing dispute about his
father buying into one of Jerry Steuerman’s bagel stores. (Exhibit ZZ Deposition of
Martin Tankleff p. 206)

72, Plaintiff then told Rein and McCready about what he did on the evening of
September 6, and that he took a shower that night before going to bed. (Exhibit ZZ
Deposition of Martin Tankleff p. 174)

73. Plaintiff then told Rein and McCready that his mother slept in the bed
closest to the sliding glass doors, and that he gave his mother a kiss good night the night
before. (Exhibit ZZ Deposition of Martin Tankleff p. 181)

74. — Plaintiff next told Rein and McCready that he had surgery two weeks
prior, having to now wear glasses because of surgery, and then discussed girls. (Exhibit

B, TT pp. 2839-2912, 3456-3672, 3705-3934) (Exhibit C, McCready Supplemental

 
Report, 9/14/88) (Exhibit D, Oral Confession) (Exhibit R, HH pp. 30-161, 1068-1127)
(Exhibit ZZ Deposition of Martin Tankleff p. 168)

75. Plaintiff testified at his criminal trial that | September of 1988 he was
wearing regular glasses because he had just gotten a nose job. (Exhibit B, TT pp. 4114).

76. Plaintiff next told Rein and McCready that he loved to cook and would
sometimes cook for the poker players. He mentioned his car was a ’78 Lincoln Town
Car. He also stated that after eating his dinner he placed his plate in the dishwasher and
his glass in the sink. (Exhibit B, TT pp. 2839-2912, 3456-3672, 3705-3934) (Exhibit C,
McCready Supplemental Report, 9/14/88) (Exhibit D, Oral Confession) (Exhibit R, HH
pp. 30-161, 1068-1127) (Exhibit ZZ Deposition of Martin Tankleff p. 173)

77. Plaintiff told Rein and McCready that he was adopted, he loved his niece
and nephew, talked about how his father and mother met and described his relationship
with various family members. (Exhibit B, TT pp. 2839-2912, 3456-3672, 3705-3934)
(Exhibit C, McCready Supplemental Report, 9/14/88) (Exhibit D, Oral Confession)
(Exhibit R, HH pp, 30-161, 1068-1127) (Exhibit ZZ Deposition of Martin Tankleff p.
175}

78, — Plaintiff could not recall if he told Rein and McCready that his parents
always locked the bedroom sliders and screens, (Exhibit ZZ, Deposition of Martin
Tankleff p. 178)

79, Plaintiff told Rein and McCready about his relationship with his mom;
that he had a loving relationship with his mother, enjoyed taking walks with her and
discussing cooking. (Exhibit 77 Deposition of Martin Tankleff p. 180)

80. Plaintiff told Rein and McCready about his relationship with his father,

plaintiffs aversion to blood; and that he could talk to his father about anything. (Exhibit

 
 

B, TT pp. 2839-2912, 3456-3672, 3705-3934) (Exhibit C, McCready Supplemental
Report, 9/14/88) (Exhibit D, Oral Confession) (Exhibit R, HH pp. 30-161, 1068-1127)
(Exhibit ZZ Deposition of Martin Tankleff p. 191)

81. Plaintiff told Rein and McCready about the family maid; and told them the
names of the people playing in the poker game on the night of September 6, 1988.
(Exhibit ZZ Deposition of Martin Tankleff p. 193, 196)

82. Plaintiff told Rein and McCready that his father and Steuerman pretended
to be good buddies but they did not like each other anymore. (Exhibit ZZ, Deposition of
Martin Tankleff p, 197)

83. Plaintiff told Rein and McCready that he knew a lot about his father’s
business dealings and that his father was grooming him for the business world. (Exhibit
B, TT pp. 2839-2912, 3456-3672, 3705-3934) (Exhibit C, McCready Supplemental
Report, 9/14/88) (Exhibit D, Oral Confession) (Exhibit R, HH pp. 30-161, 1068-1127)
(Exhibit ZZ Deposition of Martin Tankleff p. 198).

84, Plaintiff told Rein and McCready that he wasn’t going to receive anything
under his parents will until he was 25 and that he was going to get more than his sister.
(Exhibit ZZ Deposition of Martin Tankleff p. 199)

85. Rein and McCready then asked plaintiff to demonstrate how he had
administered first aid to Seymour. Plaintiff demonstrated on Rein. (Exhibit ZZ
Deposition of Martin Tankleff p. 208)

86. Up until this demonstration, plaintiff answered the questions that were
posed to him in the interrogation room. (Exhibit ZZ, Deposition of Martin Tankleff p.

190)

 
87. | Up until this demonstration, the plaintiff was not threatened with any
physical harm if he refused to answer the questions. (Exhibit ZZ Deposition of Martin
Tankleff p. 188-191),

88... At around this time, plaintiff made three sketches for Rein and McCready
showing how the cars belonging to the card players were parked in the driveway; the
genera! layout of the house showing the office/gym, bedrooms, closets and bathrooms;
where Arlene was in the bedroom when he looked in; and where he was standing when
he looked in, which was signified by a line drawn in the bedroom foyer. (Exhibit I, Trial
Exhibit #169) (Exhibit L, Trial Kxhibit #168) (Exhibit M, Trial Exhibit #167)

89. Plaintiff admits to making the drawings, but does not recall when he made
the drawings. (Exhibit 7Z Deposition of Martin Tankleff p. 211-215).

90. Plaintiff made some of the drawings when the interrogation was over and
some during (Exhibit ZZ Deposition of Martin Tankleff p. 214)

91. | While the plaintiff was demonstrating how he administered first aid to his
father, the movement of plaintiff's sweatshirt allowed McCready to see plaintiff's right
shoulder. McCready observed blood on the shoulder, At this time, McCready asked
plaintiff when he had last showcred and plaintiff replied “last night.” (Exhibit B, TT pp.
2867-2870, 3168-3170, 3177-3179, 3199, 3473-3475) (Exhibit C, McCready
Supplemental Report, 9/14/88) (Exhibit D, Oral Confession) (Exhibit R, HH pp. 30-161,
1068-1127). (Exhibit ZZ Deposition of Martin Tankleff p. 211, 226).

92, The plaintiff demonstrated how he administered first aid to his father with
Detective Rein portraying his father by sitting in a chair. (Exhibit ZZ Deposition of

Martin Tankleff p. 209).

 
 

93. When the plaintiff demonstrated how he administered first aid to his father
he made physical contact with Detective Rein. (Exhibit ZZ Deposition of Martin
Tankleff p. 210).

94. Plaintiff told rein and McCready that he never touched his mother that
morning. (Exhibit ZZ Deposition of Martin Tankleff p. 230).

95. Plaintiff was not wearing a sweatshirt when he got up that morning.
(Exhibit ZZ Deposition of Martin Tankleff p. 231)

96. The photograph of the plaintiff taken at police headquarters on September
7, 1988 does not show any blood on the plaintiff’s shorts and plaintiff acknowledged this
during his testimony at the criminal trial. (Exhibit B, TT pp. 4221-4222)

97. Rein, who had been an Emergency Medica! Technician for 31 years,
noted plaintiff was calm and not at all indicating any symptoms of shock at the violent
death of his mother and attack on his father. (Exhibit B, TT pp. 2839-2912, 3456-3672,
3705-3934) (Exhibit R, HH pp. 30-161, 1068-1127) (Exhibit XX Deposition of Norman
Rein p. 104).

98. At about 11:15 a.m. some 95 minutes into the questioning, and after
having observed blood on plaintiffs shoulder, Rein and McCready became accusatory,
(Exhibit XX Deposition of Norman Rein p. 125) (Exhibit B, TT pp. 2870-2872, 2941,
3184-3187, 3215, 3476-3478, 3517)(Exhibit TT, Complaint paragraphs 61-62).

99, Between 9:40 am and 11:15 am the questioning of the plaintiff was not
accusatory and plaintiff answered many questions with long narratives. (Exhibit XX
Deposition of Norman Rein p. 124-129)

100, Between approximately 11:15 am and 11:54 am the detectives confronted
the plaintiff with inconsistencies between what he was telling them and what they had

learned a t the crime scene. (Exhibit XX Deposition of Norman Rein p. 129-130)

 
101. Between approximately 11:15 am and 11:54 McCready raised his voice
and Rein probably raised his voice, (Exhibit XX Deposition of Norman Rein p. 129-130)

102. Atapproximately 11:54 detective McCready entered the room and
employing a ruse, he told plaintiff that Seymour had regained consciousness and said that
plaintiff had “beat and stabbed” him. Plaintiff stated that if his father said that, he did so
because he (plaintiff) was helped him that morning. Plaintiff said he would take a lie
detector test. (Exhibit ZZ Deposition of Martin Tankleff p. 247-248).

103. Plaintiff told the detectives that whoever did this “needs psychiatric help.”
Plaintiff then asked “could I have blacked out and done it?” “Maybe it wasn’t him but
another Marty Tankleff that killed them.” (Exhibit B, TT pp. 2882-2886, 3243-3247,
4156) (Exhibit C, McCready Supplemental Report, 9/14/88) (Exhibit D, Oral
Confession) (Exhibit R, HH pp. 30-161, 1068-1127)

104, Plaintiff does not recall if he made the statements in paragraph 102 above
to the detectives or not. (Exhibit AAA Deposition of Martin Tankleff p. 97).

105,  Plaintiffis not sure if he told the detectives “Could I be possessed?”
{Exhibit AAA Deposition of Martin Tankleff p. 97).

106. The rhetorical statement “could I have blacked out” was made by the
plaintiff to the detectives and was not suggest to him by the detectives. (Exhibit B, TT p.
4156).

107, Plaintiff claims the detectives had him believing that he committed the
murders. (Exhibit ZZ Deposition of Martin Tankleff p, 259) (Exhibit B, TT p. 4156,
4161).

108. Detective McCready asked the plaintiff “did you kill your mother and did

you hurt your father?” and the plaintiff responded “Yeah I did it.” (Exhibit AAA

 
Deposition of Martin Tankleff p, 105) (Exhibit ZZ, Deposition of Martin Tankleff p, 258-
259).

109. After telling the detectives that he killed his mother and hurt his father
plaintiff told the detectives that he wanted to go to Florida and he was planning on going
to the Wharton School of Business. (Exhibit ZZ Deposition of Martin Tankleff p. 258-
259).

110. After telling the detectives that he killed his mother and hurt his father
plaintiff told the detectives that he resented that Dan Hayes, his father’s business partner
in the health and fitness center, was going to move into the house to babysit him when his
parents went on vacation. (Exhibit ZZ Deposition of Martin Tankleff p. 263-264).

111. Plaintiff indicated to the detectives that he saw his father in his office
sleeping in his chair, he was surprised that he wasn’t in bed with his mother and that the
lights were on, Plaintiff said this to the detectives after it was suggested to him by the
detectives. (Exhibit ZZ Deposition of Martin Tankleff p. 266- 267).

112, Plaintiff acquiesced and agreed with a suggestion from the detectives that
he hit his mother with a dumbbell and then cut her throat. That she was on her back and
he didn’t know how many times he had stabbed her, that he had gotten to her quickly and
hit her at least four to five times on the head. (Exhibit ZZ Deposition of Martin
‘Tankleff p. 267).

113. Plaintiff agreed to whatever the detectives suggested and agreed to the
specific suggestions that the detectives made concerning the wounds that were inflicted
on his mother. (Exhibit AAA Deposition of Martin Tankleff p. 118).

114, At the point in time when he acquiesced to the statements about the
wounds to his mother the plaintiff did not deny the statement and did not say, no I never

did that. (Exhibit AAA Deposition of Martin Tankleff p. 118).

 
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115. Athis deposition on July 9, 2013 in the matter of Tankleff v. New York
State, plaintiff was asked the following questions and gave the following answers:

Q. It says Detective McCready, they suggested to you that he hit your mother
with a dumbbell and then cut her throat. They suggested that to you, you acquiesced; is
that correct?

A, Yes,

Q. You did not deny doing that?

A. Correct.

Q. And then she was in bed on her back, and you didn’t know how many times
you stabbed her. You acquiesced to that, is that correct?

A. Yes. |

Q. You did not deny it?

Mr. Barket: Iam sorry. I am trying to keep up. She was in her bed on her
Back.

Mr, Schwerdt: Is there an objection or something?

Mr, Barket: No, no.

Q. The other thing was, you got to her quickly, and hit her at least four or five
times in the head. You acquiesced to that: is that correct?

A. That is correct.

Q. And you did not deny that?

A. Correct

(Exhibit AAA Deposition of Martin Tankleff p, 120-121).

116. Immediately following these questions at the deposition on July 9, 2013,
plaintiff's counsel Mr. Barket said “I am hungry, if that matters” and the lunch recess was

taken. (Exhibit AAA Deposition of Martin Tankleff p. 121).

 
117. Upon returning from the lunch break, the plaintiff changed his answers to
the earlier questions and claimed he agreed to the suggestions but only after initially
denying them. (Exhibit AAA Deposition of Martin Tankleff p. 121-130).

118. After the initial denials, plaintiff agreed to the statements suggested to him
by law enforcement, (Exhibit AAA Deposition of Martin Tankleff p. 130).

119. Plaintiff acquiesced and agreed with a suggestion from the detectives that
after his mother fell on the floor he ran out and got a knife from the kitchen and cut her
throat, the knife was on the counter next to the watermelon, “she was moving a little bit
when he ran out of the bedroom to kill his father, and that his father was still alive in the
office. (Exhibit ZZ Deposition of Martin Tankleff p. 268).

120. Plaintiff acquiesced and agreed with a suggestion from the detectives that
his father was sitting at his desk and that his father was now awake and asked what are
you doing and the plaintiff was still naked. Exhibit ZZ Deposition of Martin Tankleff p.
268).

121. Plaintiff acquiesced and agreed with a suggestion from the detectives that
he walked in with a knife and dumbbell behind your back, that he had gotten behind his
father and hit him with the barbell first and that his father asked why was he doing this
and that he knock him silly. (Exhibit ZZ Deposition of Martin Tankleff p. 268 - 269),

122. Plaintiff acquiesced and agreed with a suggestion from the detectives that
his father’s feet were under the desk so he couldn’t get up, and that he slashed his father’s
neck, and that he didn’t know how many times he hit or cut him, and that he couldn’t
believe all the blood. (Exhibit ZZ Deposition of Martin Tankleff p. 269).

123. Plaintiff acquiesced and agreed with a suggestion from the detectives that

he washed off the knife and barbell in the shower, put the barbell back in his bedroom,

 
lay on his bed, thought about what to do next, and got up at about 6:10 a.m. (Exhibit ZZ,
Deposition of Martin Tankleff p. 269).

124. During the interview with the detectives, the plaintiff claimed that he had
nothing to do with the attack on his parents. (Exhibit ZZ Deposition of Martin Tankleff
p. 398).

125, Plaintiffs protestations of innocence occurred prior to him adopting the
position of the detectives that he murdered his parents. (Exhibit ZZ Deposition of
Martin Tankleff p. 401).

126. Plaintiff claims he was never read Miranda warnings, but acknowledged
that he signed the card and that the signature on the rights card was his, (Exhibit ZZ
Deposition of Martin Tankleff p. 251).

127. When the plaintiff told the detectives “yeah I did it” he did not consider
what would happen to him. (Exhibit B, TT p. 4156, 4163-4164),

128. After having agreed with the statements that he killed his mother and hurt
his father, the plaintiff voluntarily signed a consent form to take forensic evidence from
plaintiff, specifically fingernail scrapings and exterior dried blood. (Exhibit ZZ
Deposition of Martin Tankleff p. 278-279) (Exhibit O, Exemplar Consent Form)

129. After the consent form was executed by plaintiff, Detectives Rein and
McCready had members of the identification section take photographs of the plaintiff.
(Exhibit B, TT pp. 3503-3504) (Exhibit F, Trial Exhibit 11, Photograph) (Exhibit P, Trial
Exhibit 150, Photograph) (Exhibit R, HH pp. 30-161, 1068-1127}

130. At 1:22 p.m, family attorney Fox called police headquarters and directed
the detectives to stop their questioning of plaintiff. (Exhibit B, TT pp. 2839-2912, 3456-

3672, 3705-3934) (Exhibit C, McCready Supplemental Report, 9/14/88) (Exhibit D,

 
Oral Confession) (Exhibit R, HH pp. 30-161, 1068-1127) (Exhibit Q, Unsigned Written
Confession).

131. Plaintiff claims he was choked by Detective McCready later in the day
after he had made the confession. (Exhibit ZZ Deposition of Martin Tankleff p. 251).
(Exhibit AAA Deposition of Martin Tankleff p. 106-107).

132. Prior to the confession Detective McCready poked his fingers into the
plaintiff’s chest, and Detective Rein had his hand on the plaintiff's back and knee. Other
than this, there is no evidence in the available record that the plaintiff was physically or
verbally threatened in any way during his questioning. (Exhibit AAA Deposition of
Martin Tankleff p. 195-109) (Exhibit B, TT p. 4693).

133. Plaintiff's false confession expert, Mr. James Trainum is not aware of any
threats of harm made to the plaintiff by the detectives prior to the plaintiff confessing to
the crime. (Exhibit MMM Deposition of James Trainum p. 141).

134, Plaintiff's false confession expert, Mr. James Trainum is not aware of any
evidence that the detectives impliedly or actually threatened the plaintiff with any
inevitable consequences to get him to admit to the crimes. (Exhibit MMM Deposition of
James Trainum p, 142-143). |

C. Phone Call to Sister Shari Rother.

135. Plaintiff then remained in the homicide squad room for the rest of the
afternoon and was processed on his arrest. During this time, plaintiff asked to speak to
his sister Shari Rother. (Exhibit KK 50h Examination p.62)

136. Plaintiff spoke to his sister on the telephone and told her he was sorry
several times. Plaintiff's sister asked if he had told the police if he was involved, and the

plaintiff said yes they made me. (Exhibit KK 50h Examination p.63

 
Dd, Evidence at Crime Scene, Seymour’s Surgery, and Arlene’s Autopsy.

137. Detective Sergeant Doyle assigned Detective James Barnes to be the case-
scene coordinator at the crime scene, Detective Barnes examined all the house windows
and doors and found no sign of an intrusion. (Exhibit B, TT 1367-1390, 2633)

138. At approximately 9:35 a.m., on September 7, 1988 in plaintiff's bathroom,
Detective Chuck Kosciuk observed water near the bathtub drain, atop one side of the tub,
and a wet loofah sponge with a ring of water around it. Kosciuk then proceeded to
plaintiff's bedroom and observed blood on the doorknob, blood on the light switch plate
and wall near that switch plate at the room’s entrance. On plaintiff's bed, Kosciuk
observed towels, one of which was “slightly damp,” and a pair of smail barbells leaning
against a wall. Maria Vieira, the Tankleff family housekeeper recalled, as a defense
witness, that on September 6, 1988, the barbells were lying down. (Exhibit B, TT pp.
1579-1581, 1695, 1702-1704, 1732-1733, 1762, 1775-1777, 1868-1869, 4394)

139. In the kitchen Kosciuk found a knife next to watermelon rinds in a position
different from that described by Bove, who had recounted where he put it after using it at
the card game hours earlier. (Exhibit B, TT pp. 734-740, 1706-1707, 1840) (Exhibit U,
Trial Evidence { #’s 96-97)

140. Vernard Adams, Deputy Suffolk County Medical Examiner, arrived at the
scene at around 4:00 p.m. He examined Arlene’s injuries and the blood pooling in the
master bedroom. He concluded that Arlene had suffered head injuries, had moved and
then had suffered incised injuries. (Exhibit B, TT pp. 3940-3944, 3967, 4003-4004)
(Exhibit BBB Deposition of Vernard Adams p. 35).

141, At Stony Brook I lospital, surgeon Doctor George Tyson operated on
Seymour. Dr. Tyson noted that Seymour had sustained several “depressed [skull]

fractures,” “fracture[s] in which pieces of bone are...driven inward.” He also noted “the

 
size and shape of the ... fractures appeared to [have been] produced by a small, pointed
blunt object of which a hammer would be a good example.” He also noted that
Seymour’s neck wound was consistent with having been caused by a knife and that it
could have been caused if Seymour had been struggling. Tyson also opined that whoever
had inflicted the head and neck wounds was very angry and that the person who had the
strength to lift Seymour from the chair would have had the strength to inflict the wounds.
(Exhibit B, TT pp. 4346-4349, 4359-4365)

142. On September 8, 1988, Adams performed an autopsy on Arlene. Adams
determined that Arlene had suffered defensive wounds to her hands and forearms and that
a sharp blade or blades had caused her incised wounds. Adams also concluded that a
blunt instrument had caused her skull wounds, which included five depressed fractures.
When comparing the fractures with a dumbbell! from plaintiff's bedroom, he concluded
“the skull fractures [were] consistent with having been caused by the bar.” (Exhibit B,
TT pp. 3945, 3954-3957, 3963-3968, 3974-3978, 3989, 4005-4009)

143. Dr. Adams did not determine the actual number of fractures to Arlene
Tankleff’s skull until the next day, September 8, 1988 at the autopsy. (Exhibit BBB
Deposition of Vernard Adams p. 225)

144. Atno time on or after September 8, 1988, up until and throughout the trial
of the plaintiff did Dr. Adams ever communicate to any Suffolk County detective or
prosecutor in any fashion that he believed that there was no reasonable possibility that the
knife recovered from the counter next to the watermelon could have been the murder
weapon. (Exhibit CCC Affidavit Mike Carmody, Exhibit DDD Affidavit Robert Doyle,

Exhibit EEE Affidavit Charles Kosciuk, Exhibit FFF Affidavit K. James McCready,

 
Exhibit GGG Declaration Norman Rein, Exhibit HHH Deposition John Collins pp. 84-
91, Exhibit III Deposition Edward Jablonski°)

145.  Ator shortly after the arraignment of the plaintiff on the indictment in his
criminal matter, plaintiff's attorney Robert Gottlieb received a copy of the statements that
were attributed to the plaintiff. (Exhibit JJJ Deposition of Robert Gottlieb pp. 24-26)

146. After receiving the copy of the statements attributed to the plaintiff. Mr.
Gottlieb was aware that the knife recovered next to the watermelon was used in the
crimes, (Exhibit JJJ Deposition of Robert Gottlieb pp. 25-26)

147. Between the arraignment of the plaintiff and the suppression hearings
conducted in the criminal case, Mr. Gottlieb received discovery from the prosecution that
included crime scene photographs, lab reports, serology reports, the autopsy reports of
both Arlene and Seymour Tankleff and the autopsy photographs. (Exhibit JJJ
Deposition of Robert Gottlieb pp. 27-31)

148. Amongst the photographs received by Mr. Gottlieb were photographs of
the knife that was recovered by the watermelon, (Exhibit JJJ Deposition of Robert
Gottlieb p. 33)

149, During discovery in the criminal proceeding, Mr. Gottlieb requested to
view the physical evidence relating to the crime, including the knife recovered by the
watermelon. (Exhibit JJJ Deposition of Robert Gottlieb pp. 34-35)

150. Mr. Gottlieb does not recall if he requested an opportunity to perform any
tests on the evidence. (Exhibit JJJ Deposition of Robert Gottlieb pp. 35)

151. Mr. Gottlieb does not recall if he hired an expert forensic pathologist to

review the autopsy findings, or to review the serology testing, or to review the manner in

 

° The transcript provided of Mr. Jablonski’s deposition does not include page numbers, The numbers on
the Adobe Acrobat reader are pages 104 through 109,

 
which the crime scene was processed. (Exhibit JJ] Deposition of Robert Gottlieb pp. 38-
41),

152, Had Mr. Gottlieb hired an expert to make a comparison of the weapons
that were claimed to have been used in the crime with the wounds of the victims, and that
person gave him an opinion that those weapons could not have been used in the crime, or
that there was no reasonable possibility that those weapons could have been used in the
crime he would have called that expert at trial an introduced that evidence. (Exhibit JJJ
Deposition of Robert Gottlieb pp. 41-42).

153. During the trial, Mr. Gottlieb called a doctor to talk about the blunt force
injuries that were allegedly caused by a barbell and testify that they were more consistent
with ahammer. (Exhibit JJJ Deposition of Robert Gottlieb pp. 42). -

154, At the trial Mr. Gottlieb did not call any witness, expert or otherwise, to
offer evidence in relation to the knife by the watermelon and whether that knife could
have been used in the crime. (Exhibit JJJ Deposition of Robert Gottlieb pp. 44).

155. Prior to the trial in the plaintiff's criminal matter, Mr. Gottlieb did not
speak to Dr. Vernard Adams and does not recall being denied an opportunity to do so.
(Exhibit JIJ Deposition of Robert Gottlieb pp. 45).

156. Mr. Gottlieb was never told by the prosecutor that he could not speak to
Dr. Adams without the prosecutor present. (Exhibit JJJ Deposition of Robert Gottlieb
pp. 48).

157. Mr. Gottlieb was never told by Dr. Adams that he would not speak to him
without the prosecutor present. (Exhibit JJJ Deposition of Robert Gottlieb pp. 48).

158. At the trial during cross examination of Dr. Adams, Mr. Gottlieb asked

the doctor about the incised wounds to the victims, the direction of the wounds and

 

 
whether they could be caused by a left or right handed person. (Exhibit JJ] Deposition of
Robert Gottlieb pp. 56-58).

159, At the trial during cross examination of Dr. Adams, Mr. Gottlieb asked
the doctor if he could determine with a reasonable degree of scientific certainty regarding
blood pooling around the victims feet, which wounds were inflicted first, if the wounds
were defensive wounds, and questions regarding if the wounds could be caused by more
than one sharp blade. (Exhibit JJJ Deposition of Robert Gottlieb pp. 58-61).

160. Atno time during his cross examination of Dr. Adams did Mr. Gottlieb
ask his opinion on whether the knife by the watermelon could be excluded as the murder
weapon. (Exhibit JJJ Deposition of Robert Gottlieb pp. 62).

161, Atno time during his cross examination of Dr, Adams did Mr. Gottlieb
ask the doctor whether there was any reasonable possibility that the knife could be used.
(Exhibit JJJ Deposition of Robert Gottlieb pp. 62).

162. Mr. Gottlieb had the opportunity to ask the doctor these questions if he
wanted to. (Exhibit JJJ Deposition of Robert Gottlieb pp. 62).

163. In 1988 it was the policy of Dr. Adams, as well as that of the Chief
Medical Examiner of Suffolk County at the time, Dr, Hirsch, that if a defense attorney
asked to speak with the medical examiner and look at the entire file, it would have been
allowed. (Exhibit BBB Deposition of Vernard Adams p. 197)

164. There is no evidence in the available record and plaintiff can produce no
facts that Dr. Adams ever told any Suffolk County detective or prosecutor that he
believed that there was no reasonable possibility that the knife recovered next to the

watermelon in kitchen could be the murder weapon.

 
165. Plaintiff’s counsel Barry Scheck spoke to Dr. Adams on the telephone at a
point prior to the date of Dr. Adams deposition which was August 5, 2014. (Exhibit BBB
Deposition of Vernard Adams p. 211)

E. Jerry Steuerman

166. At approximately 9:30 a.m. on September 7, 1988, Gerry Steuerman
called Bove. Bove stated to Steuerman, “J don’t know what’s happened, but you’re being
accused of murdering Seymour and Arlene.” Steuerman responded, “Vinny, what the
hell are you talking about?” Bove then handed the phone to a detective, who made an
appointment to interview Steuerman later that day. (Exhibit B, TT pp. 83, 747-748, 904-
905, 1084-1085, 3988)

167, Detective Sergeant Doyle had assigned Homicide Detectives Robert
Anderson and Anthony Laghezza to interview each of the regular card players that met
with Seymour on a regular basis and specifically, those that were in attendance at the card
game that ended hours before the attacks on Arlene and Seymour, (Exhibit B, TT pp.
2606-2607, 2635)

168. Vincent Bove told Detectives Anderson and Laghezza that he noticed
nothing unusual at the card game and that there were no problems at the game between
any of the players including Steuerman and Seymour. Bove also stated he was unaware
of any problems between Steuerman and Seymour and that he had no personal
knowledge of their business relationship. (Exhibit B, TT pp. 721-733) (Exhibit V,
Anderson Supp. Report, 9/8/88)

169. Robert Montefusco told Detectives Anderson and Laghezza that he did not
observe any problems at the final card game nor was there any problems between any of
the players and noted that Seymour was in good spirits. (Exhibit B, TT pp. 622-625)

(Exhibit V, Anderson Supp. Report, 9/8/88)

 
 

170. Albert Raskin told Detectives Anderson and Laghezza that he noticed no
problems during the card game and that everything seemed fine throughout the night.
(Exhibit V, Anderson Supp. Report, 9/8/88)

171. Peter Capobianco told Detectives Anderson and Laghezza that there was
no tension between any of the card players that night nor did he recall anything out of the
ordinary during the game. (Exhibit V, Anderson Supp. Report, 9/8/88) —

172. Joseph Cerce also indicated that nothing unusual occurred during the
card game and that there was no hostility between Steuerman and Seymour, (Exhibit B,
TT pp. 670-68) (Exhibit X, Rein 9/11/88 Supp. Report)

173. Detectives Anderson and Laghezza interviewed Steuerman last. At this
time Steuerman knew that plaintiff had accused him of committing the attacks on Arlene
and Seymour. Steuerman detailed his business relationship with Seymour and discussed
his two year involvement in a “friendly” game of cards with Seymour and other friends
and his inability to ever recall there being any problems at the game. He also stated that
he saw plaintiff at the last game and that he (plaintiff) moved a car. He also recalled that
he left the game and got to his daughter’s home around 3:15 a.m., and that he had
forgotten his house keys, He stated that his son told him of the attacks on Seymour and
Arlene at around 9:00 a.m., after he had arrived at his bagel store at 6:30 a.m.

Steuerman discussed the financial outcome of the card game, talked about plaintiff and
talked about Arlene. At the conclusion of this interview, Detectives Anderson and
Laghezza concluded that Steuerman should not be considered a suspect. (Exhibit B, TT
pp. 897-905) (Exhibit V, Anderson Supp. Report, 9/8/88)

174. Detective Rem and McCready interviewed Steuerman on September 10,
1988 where Steuerman recounted details about the weekly poker game and the game on

September 6, 1988 and detailed when he went home and wheré he went. Steuerman also

 

 
discussed the relationships within the Tankleff family. (Exhibit W, Rein Supplemental
Report, 9/10/88)

175. On the day of the murders, Steuerman was living in Old Field with his
daughter, Bari Steuerman, and her son. At around 3:16 a.m., Bari heard knocking on the
door and answered that knock expecting it was her father since he often forgot his keys.
It was her father at the door. After letting her father in, she went back to bed and
Steuerman went to his room. She was awakened by Steuerman at around 6:00 a.m. and
he soon after left for work. She also indicated that the ride from Belle Terre to Old Field
takes approximately 15 minutes. (Exhibit B, TT pp. 821-827)

176. The terms of the various business dealings between Seymour and
Steuerman indicated that Steuerman’s financial obligations to Seymour survived
Seymour’s death. (Exhibit B, TT pp. 1220-1224) (Exhibit V, Anderson Supp. Report,
9/8/88)

177. On September 14, 1988, Steuerman withdrew $15,000.00 from an account
he shared with Seymour, feigned his own death and went to Los Angeles. (Exhibit B, TT
pp. 905-906, 1137-1143, 1189-1193)

178. Steuerman explained that he did this because:

“My wife... passed away a year before. I was married for
twenty-nine years... and one of my children was in bad

legal trouble... and my business was not what it used to be

and then the murder of Arlene and Seymour, after that and the
accusations by thej.... it got tome. I thought everybody would
be better off just without me. (Exhibit B, TT pp. 907-978,
1136-1137, 1151-1156, 1191)

179, Steuerman took the stand for three days during plaintiff's criminal trial

and was exhaustively asked about the details of his business relationship with Seymour

 

 
and about he (Steuerman) being the actual perpetrator of the murders of Arlene and
Seymour. This was plaintiffs defense at the trial. (Exhibit B, TT pp. 909-1219)

180. | McCready was cross-examined extensively about the direction of the
murder investigation and about his purported “failure” to investigate Steuerman as a
suspect. (Exhibit B, TT pp. 3517-3672, 3705-3934)

F, The Indictments.

181. In September of 1988, plaintiff was indicted by a Suffolk County Grand
Jury for the murder of Arlene and the assault on Seymour.

182. On October 6, 1988, Seymour died from his wounds and plaintiff was
thereafter indicted by a Suffolk County Grand Jury on a superseding proceeding, for the
murder of Seymour.

183. Detectives McCready, Rein and Doyle were not complaining witnesses.

184. Detective Rein did not testify in the grand jury.

185. Detective Doyle did not testify in the grand jury.

186, Detective Rein did not initiate the prosecution against the plaintiff.

187, Detective Doyle did not initiate the prosecution against the plaintiff.

I. Forensic Evidence.

188. Forensic Serologist Robert Baumann analyzed blood recovered from the
crime scene. Baumann noted that except for a bloodstain on the exterior doorknob to
plaintiff's room, there was no blood on the entranceway to any of the rooms, (Exhibit B,
TT pp. 2131, 2152, 2159-2162, 2388-2389, 2424)

189. Baumann also analyzed evidence from the master bedroom where Arlene
was found. A blood stain on a wall in the bedroom contained a bloodstain consistent
only with Seymour’s blood. Baumann also noted that the bed sheets, pillowcases, pillow

shams, and Arlene’s fingernails contained bloodstains consistent with Arlene’s blood and

 
 

plaintiff's blood. Al] of the blood in the office was consistent only with Seymour’s
blood. Baumann also noted that Seymour’s pants contained a wallet with a $100 bill.
(Exhibit B, TT pp. 2176-2204, 2212-2217, 2268-2269, 2297)

190. An analysis of the towel found at the foot of plaintiff's bed was found to
contain blood consistent only with Seymour’s blood. Analysis of the blood stains on the
switch plate and some of the stains analyzed in the master bedroom were found to be in a
“chain link” or “honeycomb” pattern consistent with a grip area that could be found on
latex or rubber gloves used in house cleaning. No such gloves were found at the scene,
(Exhibit B, TT pp. 1976, 2104, 2258-2261, 2272-2275, 2343-2346, 2354, 2377-2379,
2396, 2412, 2455-2471, 2478, 2845-2846)

191. Analysis was conducted on the bedding found in Arlene’s room and a
stain evinced a ridge pattern that was “honeycomb-like,” consistent with a rubber glove.
Analysis also reveals that a blood stain on the light switch in plaintiff's room also
contained a “honeycombed like” pattern consistent with a rubber glove and consistent
with the patterns identified in the evidence analyzed from Arlene’s bedroom. (Exhibit B,
TT pp. 2272-2276, 2459-2466, 2485-2486)

192. Baumann also conducted an analysis of the clothes plaintiff was wearing
on September 8, 1988. There were no bloodstains on plaintiff's shorts or under shorts.
There was, however, one slight stain on the inside right shoulder of plaintiff's sweatshirt.
The stain tested positive for the presumptive presence of blood but was so small
Baumann was unable to conduct any further analysis. The blood found on plaintiff's

shoulder was consistent only with Scymour’s blood, (Exhibit B, TT pp. 2262-2268,
2294)
193. There was no blood on the barbells, or the kitchen knives or in the traps

below the sinks and bathtub loofah. The loofah sponge did, however, have a five inch slit

 
which was determined to have been caused by a sharp object. One of the three tissues
plaintiff had taken out of his pocket when he began talking to Rein and McCready at
Police Headquarters contained blood consistent with only Arlene’s blood. (Exhibit B, TT
pp. 2218-2237, 2249-2253, 2276-2281, 2305-2307, 2314-2326, 2341, 2398, 2405, 2422-
2423, 2433)

194. Kosciuk invoiced a loofah sponge that was found in plaintiff's bathroom
as item 39 under Lab No, 988-57483 and introduced in evidence during the trial as
People’s Exhibits 88 and 89. Analysis of that sponge revealed that it contained a 5 inch
slit that was identified as a cut. (Exhibit B, TT pp. 2224-2226, 2397-2398) (Exhibit Il,
Trial Exhibits 88-89)

J. Seymour’s Autopsy.

195. Seymour died on October 6, 1988. Adams performed an autopsy on
Seymour and although the partial healing of Seymour’s wounds impaired Adams ability
to determine the weapon or weapons that had caused Seymour’s death, he was able to
conclude that Seymour had suffered blows to the head from a blunt instrument or
instruments and that the cause of death was a combination of impact head trauma and
incised wounds of the neck. (Exhibit B, TT pp. 3980, 3989, 3995-4001)

K, Plaintiff's Post Confession Statements.

196. At the criminal trial, plaintiff stated that once he observed Seymour
bleeding in the office, he used the office phone to call 9-1-1. (Exhibit B, TT pp. 4115-
4116, 4200-4203)

197. At the criminal trial, plaintiff stated that after placing the 9-1-1 call, he
retrieved a pillow from his room and a towel from a closet down a hallway and returned
to his father. After plaintiff couldn’t get the chair Seymour was in into a reclined

position, he pulled Seymour from the chair and placed him on the floor and, while doing

 
 

so, got blood on his hands, shoulders and his lower left leg, (Exhibit B, TT pp, 4117-
4119, 4200-4203)

198, At the criminal trial plaintiff stated that, in his shorts and underwear only,
he placed his hands under Seymour to assist him in getting Seymour to the floor and, as a
result, got blood on his arms, hands, upper body area, and his feet or leg area but not his
shorts. (Exhibit B, TT pp. 4206-4211)

199, At the criminal trial, plaintiff acknowledged that the photograph taken by
him at Police Headquarters did not show any blood stains on the exterior of the shorts and
sweatshirt. (Exhibit B, TT pp. 4221-4222)

200. At the criminal trial, plaintiff testified that when he first got up, he
checked his parents’ bedroom and didn’t see anyone. From there he went and discovered
Seymour in his office. After calling 9-1-1 on the office phone and moving Seymour to
the floor, plaintiff stated he then went to the garage to look for his mother’s car. He
turned the garage door handle and opened the door and closed it after he observed
Arlene’s car in the garage. (Exhibit B, TT pp. 4119, 4200, 4211-4213)

201. Plaintiff testified at the criminal trial that when he first woke up, at around
6:05 a.m., he put underwear and shorts on, but not his glasses or contact lenses, (Exhibit
G) (Exhibit B, TT pp. 4113, 4189)

202. At the criminal trial, plaintiff stated that before discovering Seymour ina
front office, he had looked into his parents’ bedroom but “no one was there.” (Exhibit B,
TT p. 4115)

203. At the criminal trial, plaintiff testified that after observing Arlene’s car in
the garage, he went to his parents’ bedroom where he saw his mother dead on the floor.

(Exhibit B, TT pp. 4120, 4213-4215)

 
204, At the criminal trial, plaintiff stated that when he observed Arlene in the
master bedroom, he did so from the doorway, looking in at her and only went as far as the
alarm wall and that he did not have his glasses on or contacts in due to a surgical
procedure a week and a half earlier. (Exhibit B, TT pp. 4120, 4189)

205. At his criminal trial, plaintiff stated that after observing Arlene, he went to
the kitchen and called his sister Shari from a phone in the kitchen informing her that he
thought “mom and dad have been murdered.” (Exhibit B, TT pp. 4120-4122, 4215-4217)

206. At his criminal trial, plaintiff stated that after placing that call to his sister,
he went to check on Seymour but then returned to the kitchen to answer an incoming call
from his sister. (Exhibit B, TT pp. 4121-4122, 4217-4218)

207, During plaintiffs criminal trial, plaintiff stated that after answering his
sister’s return call, he phoned his friend Mark Perrone from the phone in the kitchen.
After speaking to Mark’s mother and telling her what happened, he hung up and
immediately received a return call from Mark. Plaintiff instructed Mark not to tell
anyone what had happened at school except the principal. (Exhibit B, TT pp. 4122-4128)

208. During plaintiff's criminal trial, plaintiff stated that after talking to his
sister and the Perrones on the phone in the kitchen, he returned to his bedroom and wiped
his hands, and only his hands, on a towel on his bed. He then put on a sweatshirt and ran
to the house of his neighbor, Hova. (Exhibit B, TT pp. 4124-4125)

209. During plaintiffs criminal trial, plaintiff stated he didn’t recall turning the
light on in his bedroom. He didn’t deny he could have, but he stated he didn’t remember.
(Exhibit B, TT p. 4113)

210. At the criminal trial, plaintiff stated that he did not recall speaking with

Hines, McNamara or Bove. (Exhibit B, TT pp. 4129-4131, 4188-4191)

 

 
 

211, At his criminal trial, plaintiff stated to the jury that what he told Makrides
and the Goldschmidts in their conversation was if his “parents weren’t around [he] could
have any car [that he] wanted.” (Exhibit B, TT pp. 4094-4097)

212, Athis criminal trial, plaintiff admitted that he had told McCready what
happened while at the scene as “best he could.” (Exhibit B, TT pp. 4137-4138)

213. At his criminal trial, plaintiff admitted that he met with Doyle and
repeated what happened to Doyle at McCready’s request. (Exhibit B, TT pp. 4134-4135)

214, At his criminal trial, plaintiff admits repeating the story after being asked
by Rein as “best I could.” (Exhibit B, TT p. 4148)

215. At his criminal trial, plaintiff admitted that McCready asked him to go to
“Homicide Headquarters.” (Exhibit B, TT p. 4143)

216. At his criminal trial, plaintiff admitted that while in the car, he told
McCready what happened the “best he could.” (Exhibit B, TT p. 4133)

217. Athis criminal trial, plaintiff admitted that while in the car he was told by
McCready that Seymour was being moved to Stony Breok and that McCready stated he
(McCready) had not known about Seymour’s head injuries. (Exhibit B, TT p. 4148)

218. At his criminal trial, plaintiff admitted that when he saw his mother in the
bedroom, he did not have glasses on. (Exhibit B, TT p. 4215)

219, At his criminal trial, plaintiff admitted that he used the kitchen phone to
speak to his sister twice and to call Perrone (a school friend) and acknowledged that the
photograph of the phone showed no blood on the phone. (Exhibit B, TT pp. 4216-4219)

220. At his criminal trial, plaintiff admitted that he wiped his hands on a towel
in his bedroom (a photograph of which was entered into evidence as People’s Exhibit 35)
afier he used the kitchen phone. (Exhibit B, TT pp. 4219-4221) (Exhibit JJ, Trial Exhibit

35)

 
221. At his criminal trial, plaintiff admitted that at Headquarters he spoke to
Rein and McCready about Steuerman’s business relationship with Seymour; a $400,000
loan Steuerman was paying off to Seymour; a UCC equipment disputed between
Steuerman and Seymour; a dispute over the Ronkonkoma store between Steuerman and
Seymour; family vacations; his relationships and getting his nose fixed; and the names
and phone numbers of various businesses owned by Seymour. (Exhibit B, TT pp. 4229-
4230)

222. At his criminal trial, plaintiff admitted he told Rein and McCready that he
was the primary beneficiary in the will for Seymour’s business interests, including the
interests Seymour had with Steuerman and the family house. (Exhibit B, TT pp. 4233-
4236).

223,  Athis criminal trial, plaintiff admitted that he drew the three diagrams
asked of him by Rein and McCready, and that he only entered Arlene’s room as far as the
alarm wall in the bedroom. (Exhibit B, TT pp. 4190, 42124)

224, At his criminal trial, plaintiff admitted that a stand-up photograph was
taken of him at police headquarters and that the photo, People’s Exhibit 11, showed no
blood on his shorts or sweatshirt. (Exhibit B, TT pp. 4221-4222) (Exhibit F, Trial Exhibit
11)

225. At his criminal trial, plaintiff admitted he demonstrated on Rein what he
did to render first aid to Seymour. (Exhibit B, TT p. 4150)

226. At his criminal trial, plaintiff admitted that his conversation with Rein and
McCready did not become confrontational until after he performed the first aid
demonstration on Rein, (Exhibit B, TT p. 4238)

227, At his criminal trial, plaintiff admitted to signing the waiver or “rights”

card, and identified his signature and date on the waiver or “rights” card, which was

 
entered into evidence as People’s Exhibit Number 170. (Exhibit B, TT pp. 4164, 4242-
4243) (Exhibit N, the Rights Card)

228. At his criminal trial, plaintiff admitted offering the substantive parts of his
confession and actually uttering the words attributed to him, but added additional
comments he claimed were made by McCready that caused him to utter those words.
(Exhibit B, TT pp. 4154-4164)

229. Athis criminal trial, plaintiff admitted telling Rein and McCready that
“could I— could I have blacked out” or “could I have blacked out.” (Exhibit B, TT p.
4242)

230. Athis criminal trial, plaintiff admitted that he told Rein and McCready
that he killed his parents with a barbell and a knife, (Exhibit B, TT pp. 4239-4240)

231. At his criminal trial plaintiff admitted, in response to questions from his
attorney on direct examination, that he spoke with his sister and that he apologized to her
saying he needed psychiatric help and that he needed to see her that night. He stated,
however, that he said those things “because they made me.”

232.  Athis criminal trial plaintiff claimed, on cross examination by Assistant
District Attorney John B. Collins, that after he gave his confession earlier, he was in a
room with Rein, McCready and Doyle, and that McCready choked him. He also claimed
that Rein and Doyle participated in order to get him to say the things he did to his sister.
(Exhibit B, TT pp. 4240-4242)

233. The first time plaintiff ever claimed he was choked came during the
aforementioned cross-examination. No previous claim of choking had ever been made,
nor had Mr. Gottlieb made such a claim in his opening statement, his direct examination

of plaintiff or in his closing argument. Mr. Gottlieb also did not address this claim in his

 
 

re-direct examination that followed the aforementioned cross-examination, (Exhibit B,

TT pp. 45-57, 4087-41721, 4247-4250, 4739-4878)

L. Procedural History Regarding Confession and 440 hearing

234, In June of 1989, after a lengthy Huntley Hearing challenging the
voluntariness of the plaintiff's confession, Trial Judge Alfred C. Tisch ruled that the
statements made by plaintiff were voluntarily given; the inculpatory statements made by
plaintiff were done after his rights were read; and there was a knowing waiver of said
rights. (Exhibit LL, Huntley Hearing Decision)

235. While simultaneously pursuing a new trial pursuant to New York State
Criminal Procedure Law §440.00, plaintiff initiated a series of direct appeals seeking to
overturn his conviction after the jury trial, These appeals primarily asserted that the
confession was involuntary. In 1993 the Appellate Division for the Second Department
rejected plaintiff's contention that the confession was not voluntary and held that plaintiff
was not in custody until after he was read his Miranda warnings and that plaintiff's due
process rights were not violated by the actions of the detectives, including their
orchestrated ruse which led plaintiff to confess. (Exhibit MM)

236. Plaintiff appealed the decision of the Second Department -- again claiming
his confession was taken improperly -- to the New York State Court of Appeals. The
Court of Appeals again rejected plaintiffs claims, and held that the confession plaintiff
gave was voluntary given and that his will was not overborne by the force used by the
detectives on September 7, 1988. (Exhibit NN)

237, Plaintiff next filed a Writ of Habeas Corpus in the Eastern District of New
York which again challenged the voluntariness of his confession. Judge Platt denied the

Writ and held that plaintiff was not in custody prior to the Miranda warning being given

 
 

and that plaintiff's post-Miranda admissions were voluntary. A Brady claim was also
rejected. (Exhibit OO)

238. Plaintiff next appealed Judge Platt’s Decision to the Second Circuit Court
of Appeals. The Court held that the pre-admission statements were taken when plaintiff
was in custody which required that Miranda warnings should have been given earlier.
However, the Court found this to be harmless error since the pre-Miranda statements
were repeated when plaintiff confessed after having been read his rights. The Court also
rejected plaintiff's claim that the confession was obtained involuntarily and held that the
waiving of rights was done knowingly. They also affirmed the Brady issue as decided by
Judge Platt, (Exhibit PP)

239, In December of 2007, the Appellate Division for the Second Department
reversed a trial court decision denying plaintiffs motion for a new trial pursuant to the
Criminal Procedure Law §440.00 and held there was sufficient new evidence that would
entitle plaintiff to a new trial. However, the court refused to address plaintiff's claim that
his confession was not voluntarily given, reasoning that the issue concerning that
confession had been thoroughly litigated. This court also expressly rejected plaintiff's
claim of actual innocence. (Exhibit QQ)

240. At his 440 hearing the plaintiff advanced a theory that the murders were
actually were committed by Joseph Creedon, Peter Kent and Glen Harris and that one of
the weapons used was a metal pipe. (Exhibit TT original complaint paragraphs 125-127)

241, Glen Harris swore out an affidavit admitting, inter alia, that he drove the
getaway car and that the principals ran back to the car covered in blood, and discarded a

rusty pipe out the window. (Exhibit TT original complaint paragraphs 125-127)

 
242. Plaintiffs investigator Jay Salpeter testified at the 440 hearing and stated
that Harris took him to a location where the pipe was discarded and found a rusted 36
inch long cylindrical metal pipe. (Exhibit TT original complaint paragraphs 125-127)
(Exhibit QQ People y. Tankleff, A.D.3d 160)

243, Joseph Guaracio, Creedon’s son testified at the 440 hearing that Creedon
told him they had entered the house through a window, and that after the crime Creedon
retumed to the house through the back door to retrieve a piece of metal pipe. (Exhibit
QQ People vy. Tankleff, A.D.3d 160)

244, An examination of house windows and doors at the crime scene on
September 7, 1988 found no sign of an intrusion. (Exhibit B, TT 1367-1390, 2633)

245. Plaintiff's forensic pathology expert, Dr. Michael Baden has determined
that the weapon used to cause the injuries to Mr. and Mrs. Tankleff was a hammer not a
pipe. (Exhibit NNN Baden Expert Report)

246, The Office of the New York State Attorney General, who had taken over
the investigation after the Suffolk County District Attorney’s Office referred the case to
them in order to remove even the slightest appearance of a conflict of interest, prepared a
memorandum of law in support of their application to dismiss the pending indictments
against plaintiff in the interests of justice. (Exhibit WW)

247, On July 22, 2008, Judge Robert W. Doyle issued a Decision granting the
New York State Attorney General’s application to dismiss the pending indictments
against plaintiff in the interests of justice. (Exhibit RR).

248. The charges against the plaintiff were not terminated in a manor favorable

to the plaintiff.

 
 

M. New York State SIC Report

249, In April of 2006, plaintiff wrote to the New York State Commission of
Investigation (SIC) requesting an investigation into the Suffolk County District
Attorney’s Office and the Suffolk County Police Department’s regarding their
investigation and prosecution of plaintiff for the murder of his parents. (Exhibit KK, 50-h
transcript pp. 102-104) (Exhibit SS)

250. In December of 2008, the SIC issued a report prepared after conducting an
examination of the investigation and prosecution of plaintiff for the murder of his parents.
The SIC found, in part, that the police department and Crime Lab personnel conducted a
“comprehensive, extensive and methodical investigation from beginning to end;” the
procedures used by the Detectives in questioning plaintiff were “proper in all respects,”
and were within the “confines of the law” and that the confession was not obtained “by
way of force or coercion;” the SIC rejected plaintiff's claim that there were similarities
between procedures criticized by the SIC in a report issued in 1989 in the investigation
and prosecution of plaintiff in this case. (Exhibit SS)

251. On March 24, 2009, plaintiff filed the subject Summons and Complaint in
the United States Courthouse for the Eastern District of New York. (Exhibit TT)

252. The complaint stated eleven claims, including a federal malicious
prosecution against Detective McCready and Rein, a fabrication of evidence claim
against McCready and Rein, a failure to investigate claim against McCready and Rein, a
suppression of evidence/Brady claim against McCready and Kosciuk, a coercion and
violation of right to counsel claim against McCready and Rein, a civil rights conspiracy
claim against McCready, Rein, Doyle and McElhone, a supervisory liability claim against
Doyle and McElhone, a Monell claim against the County, a State false imprisonment

claim against McCready, Rein, and Doyle, a State malicious prosecution claim against

 
 

McCready, Rein and Doyle, and an intentional or negligent infliction of emotional
distress against claim against McCready and Rein. (Exhibit TT, original complaint).

253. The defendants moved to dismiss the complaint pursuant to Fed. R. Civ. P.
12 (c) and on December 21, 2010 Judge Seybert granted the motion in part and denied it
in part. (Exhibit KKK decision dated December 21, 2010).

254, The Court dismissed the claims based on conspiracy, supervisory liability
under § 1983, false imprisonment, suppression of exculpatory evidence/Brady, failure to
investigate, and intentional or negligent infliction of emotional distress, (Exhibit KKK
decision dated December 21, 2010),

255, The decision of the Court effectively dismissed all claims against
defendants Kosciuk and McElhone. (Exhibit KKK decision dated December 21, 2010).

256. Indismissing the false imprisonment claim the Court found that there was
a substantial amount of evidence to establish probable cause for the plaintiff's initial
arrest, independent of the plaintiffs claim that his confession was coerced and that the
defendants testified falsely before and during plaintiff's trial. (Exhibit KKK decision
dated December 21, 2010).

257, In determining that probable cause existed for his arrest the Court noted
the following facts which were not denied by the plaintiff in reply to the defendants’
motion:

~ although Tankleff told the Detectives at the
scene that he had used the phone in his
father’s office to call 9-1-1, the blood
spatter on the phone had not been disturbed;
- although Tankleff told the Detectives at the
scene that he rendered aid to his father, who
had blood gushing out of his neck wound, no

blood was observed on plaintiffs clothing;

- although Tankleff stated to Detectives at

 
 

the scene that, after rendering aid to his
father, he then checked the garage, there was
no blood on the door handle to the garage, or

the dead bolt on the garage door, which was
locked;

- Tankleff stated to Detectives at the scene

that he never entered his mother’s bedroom,
and observed from the door to the bedroom that
her throat had been cut and that she was dead;
however, Detectives at the scene could not
observe Arlene’s injuries until they entered

the bedroom and stood directly over her;

- Tankleff stated to Detectives at the scene
that, after rendering aid to his father, his

hands were covered with blood, yet the phones
in the kitchen, one of which Tankleff used to
speak to his sister and a friend on four
occasions, had no blood on them;

- Tankleff stated to Detectives at the scene

that, after getting up, he first looked in his
mother’s bedroom, which was dark because the
drapes were drawn, and he did not see anyone.
Yet when the Detectives inspected the scene
they observed that the drapes in the master
bedroom were open;

- Tankleff did not appear upset or emotional
[to investigators] at the scene[;]

- although his bedroom was directly across the
hall from the master bedroom, Tankleff never
claimed to have heard anything, although it
appeared to Detectives at the scene that there
had been a struggle in Arlene’s bedroom.

- Arlene had injuries on the back of her head
and back, which could not be observed at the
crime scene until after she had been rolled
over, which occurred after the Detectives took
Tankletfs confession, which injuries were
‘consistent with Tankleff’s confession;

- after being arrested, Tankleff was heard
telling his sister that he “acknowledged to
the police that [he] did it;”

 

 

 
 

- examination of the crime scene revealed no
sign of an intrusion;

- blood was observed on the door knob, light
switch and wall near that switch in

plaintiffs bedroom;

- the blood spatter on the phone in the office
where Seymour was found had not been disturbed
after the spattering;

- the watermelon knife found in the kitchen
was not in the position that the card player,

who had used the knife, described having
placed it on the evening of the card game;

- Arlene’s autopsy results were consistent

with Tankleff’s confession as to how he killed
his mother, and

- those in attendance at the card game did not
observe any problems at the game between any
of the players including Steuerman and
Seymour.

(Exhibit KKK decision dated December 21, 2010).

258. On December 9, 2014, plaintiff requested leave to file an amended
complaint adding a Brady claim against defendants McCready Rein Doyle and Kosciuk
alleging that Dr. Adams told them in 1988 that there was no reasonable possibility the
knife recovered by the watermelon could be the murder weapon. (Exhibit LLL, Proposed
Amended complaint).

259, Although the amended complaint alleged a new claim of suppression of
evidence relating to the knife, the first paragraph of this new claim contains a paragraph

(164) that restates a claim that was dismissed by the Court on December 21, 2010.

(Exhibit LLL, Proposed Amended complaint)

 
260. On May 5 2015, Magistrate Judge Anne Y. Shields granted the plaintiff's

request for leave to file an amended complaint.®

Dated: Hauppauge, New York Yours, etc.

July 6, 2015 DENNIS M, BROWN
SUFFOLK COUNTY ATTORNEY
Attomey for Defendants

H. Lee Dennison Building
100 Veterans Memorial Highway
P.O. Box 6100

 

BY:

 

Brian C. Mitchell/BCM- 1469
Assistant County Attorney

To: Anna B, Hoffmann
Cochran, Neufeld & Scheck, LLP
99 Hudson Street .
8th Floor
New York, NY 10013

Barry C. Scheck

Cochran, Neufeld & Scheck, LLP
99 Hudson Street

Sth Floor

New York, NY 10013

Elizabeth 8 Daniel Vasquez
Cochran, Neufeld & Scheck, LLP
99 Hudson Street

8th Floor

New York, NY 10013

Bruce A. Barket

Barket Marion Epstein & Kearon LLP
666 Old Country Road

Suite 700

Garden City, NY 11530

 

° Although Judge Shields granted the plaintiff's motion, the amended complaint has not been served on the
defendants. Notwithstanding, the defendants present facts in this Rule 56 statement that relate to the newly
added Brady claim.

 
